SCANNED ON 4/9/2012   1




                                       Case
                                       t    1:15-cv-06119-AJN-JLC Document 381-22 Filed 06/19/17 Page 1 of 5




                              SUPREME COURT OF THE STATE OF NEW YORK
                              COUNTY OF NEW YORK

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                              SCOTT SEYMOUR,                                                                                                      Index No. 107155/10

                                                                               Plaintiff,                                                  .      I.A.S. Part2

                                                             vs,                                                                           :      Justice Louis B. York

                              STEVEN E. GREER, CORTEXTV, LLC,

                                                                               Defendants.                                                 :      JUDGMENT

                               ____________________________________
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                                                             A-iidimialuling-h-uunqluule by Plaintiff Scott Seymour in the above entitled

                              action in the Supreme Court, Civil Branch, New York County, I.A.S. Part 2 (MWw

                                                                                                                                               on Junc 1, 201 0, for summary judgment in

                              lieu of complaint, pursuant to CPLR 3213, on the grounds that this action is based on instruments

                              for the payment of money only, and that Plaintiff is thcrcforc cntitlcd to judgment as a matter of

                              law because therc arc no genuine issues as to any material fact, and the Court having issued an

                              Order dated August 13, 201 0, and entered in the office of the Clerk of the County of New York

                              on August 30, 2010, granting Plaintiff's motion on default against CortexTV and directing the

                              entry of judgment in favor of Plaintiff and against CortexTV in the sum of $100,000.00 with

                              interest at the statutory rate of 10% per annum from the date of May 9, 2008, until the date of

                              entry of judgment, as calculated by the Clerk, and thereafter at the statutory rate, and further

                              ordering that the action continuc as to Defendant Greer;

                                                             AND a motion having been made by Plaintiff,                                                                     to reinstatc

                              the motion for summary judgment in lieu of complaint, pursuant to CPLR 3213, against

                              Defendant Greer, and a motion having been made by Plaintiff; edkptawber.-29,~201@,
                                                                                                               for an




                          Supreme Court Records OnLine Library - page 1 of 5


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              Case 1:15-cv-06119-AJN-JLC Document 381-22 Filed 06/19/17 Page 2 of 5




        order granting leave to rcargue and modifying the Court’s prior Order of August 13, 2010 to

        include an award to Plaintiff of rcasonablc attorney’s fecs incurred by Plaintiff in enforcement of

        his rights under the promissory note dated May 9,2008 because the award of such was agreed on

        by the parties in the Note at issue, and the Court having issued an Order dated April 12, 201 1,

        and entered in the office of the Clerk of the County of New York on April 14, 201 1, granting

        Plaintiff‘s motion For summary judgmcnt in lieu of complaint against Defendant Greer for the

        sum of $100,000.00, and granting Plaintiffs motion for reasonable attorney’s fees, the amount of

        which would be determined at a hearing, and further ordering that one judgment on the amounts

        shall be determined at the hearing;

                                 AND the hearing on attorney’s fees having taken place before the Court        8 y ~



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        -                  ,       +,and the Court having issued an Order dated January 11, 2012, and entered in

       the office of the Clerk of the County of New Ywk on January 19, 2012, awarding Plaintiff

        $1 00,000.00 with interest from May 9, 2008 at 10% interest up to the entry of the judgment and

       at thc rate of 6% thereafter, and $5,867.50 in attorney’s fees, together with costs, disbursements

       and reasonable expenses of this action;

                                 NOW, on motion of Mary Margulis-Ohnuma, plaintiffs attorney, it is

                                 ADJUDGED that Plaintiff Scott Seymour recover from Dcfendants Steven Greer

       and CortexTV the sum of $100,000.00, with interest thereon from May 9, 2008, amounting to

       $      3q,05 ,r5;8and the sum of $5,867.50 in attorncy’s fees, and thc sum of $                   e\~a.aQ
                                                                        ‘37
$,     costs and disbursements, making in all the sum of $ \ Y 5 17 b 3 7and lhat Plaintiff have

       execution thereon.
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                                 Judgment signed this 3day of April, 2 0 R   fl                      g
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Supreme Court Records OnLine Library - page 2 of 5


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Scott Seymour

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Steven E. Greer, CORTEXTV, LLC,

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 Supreme Court Records OnLine Library - page 3 of 5


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                 Case 1:15-cv-06119-AJN-JLC Document 381-22 Filed 06/19/17 Page 4 of 5

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     Supreme Court Records OnLine Library - page 4 of 5


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        Case 1:15-cv-06119-AJN-JLC Document 381-22 Filed 06/19/17 Page 5 of 5




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Supreme Court Records OnLine Library - page 5 of 5


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